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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA
                           Case No.16-25182-CIV-W ILLIAM S

  LEON BORENSTEIN,

        Plaintiff,

  VS.

  W ILLIAMS ISLAND PRO PERTY OW NERS
  ASSOCIATIO N,INC.

        Defendant.
                            /

                                         ORDER

        THIS M ATTER is before the Court upon Defendant W illiam s Island Property

  Owners Association,Inc's.,('Defendant'')motion to dismiss (DE 34),to which Plaintiff,
  Leon Borenstein (''plaintiff'')filed a response (DE 39),and Defendanta reply (DE40).For
  the reasonsdiscussed below,Defendant's motion to dismiss (DE 34)is GRANTED.
    BACKG RO UND

        Plaintiffis a Jewish individualofMexican nationalorigin.(DE 33 111110-11). On
  Septem ber 23, 2015, Plaintiffw as em ployed by Defendant as a food and beverage

  director. (DE 33 !112). Plainti
                                ffallegesthatduring his employmentwith Defendant,his
  supervisorJanette Giddings ''created a hostile workenvironment''and subjected him to
  ''harassment,bullying,and discrim ination.'' (DE 33 !113). Specifically,Plaintiffalleges
  that he was required to weara nam e tag w ith the word i
                                                         lM exico''underhis nam e even

  though he is an American citizen'
                                  ,that G iddings refused to give him the freedom to

  schedule offdays thatshe would give a sim ilarAm erican em ployee'
                                                                   ,thatshe cancelled a

  Hanukah eventhe had planned and stated d'lwle have enough Jews in the Club as itis'',
                                                                                      '
                                             1
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  and thatshe altered his title/positionto a Iesserone. (DE 33 IN 15-22). On December
  1O,2015,Plaintiffwas term inated by Defendantas a resultofthese discrim inatory acts.

  (DE 33 !11128,36,45).
        O n Septem ber1,2016,Plaintiffini
                                        tiated a com plaintwith the EqualEm ployment

  Oppodunity Comm ission ($
                          1EEOC''),who rejected Plaintiff's claim and issued a right-to-
  sue Ietter. Based on the factualallegations described above,Plaintiffadvances three

  causesofaction'
                .(1)discrimination based on nationalorigin'
                                                          ,(2)discrimination based on
  religion'
          ,and (3)negligenthiring,retention and supervision.
  II. LEGAL STANDA RD

        To survive a Rule 12(b)(6)motionto dismiss,a plaintiffmustplead sufficientfacts
  to state a claim thatis''plausible on itsface.''Ashcroftv./qba/,556 U.S.662,678 (2009)
  (quoting BellAtlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The Coud's
  consideration is limited to the allegations presented. See GS7 Inc.v.Long Ctp,999
  F.2d 1508,1510 (11th Cir.1993). AIIfactualallegations are accepted as true and aII
  reasonable inferences are drawn in the plainti
                                               ff's favor.See Speaker B. U.S.Dep'fof

  HeaIth & Hum an Servs.Ctrs.for Disease Control& Prevention,623 F.3d 1371,1379

  (11th Cir.2010).
                 ,see also Roberts ?.&a.Power& LightCo.,146 F.3d 1305,1307 (11th
  Cir.1998). Nevedheless,while a plaintiffneed notprovide lddetailedfactualallegations,''
  the allegations m ustconsistofm ore than d'a form ulaic recitation ofthe elements ofa cause

  of action.'' Twombly, 550 U.S. at 555 (internal citations and quotations omitted).
  ''lclonclusory allegations, unwarranted factual deductions or Iegal conclusions
  m asquerading as facts willnot preventdism issal.''' Davila v.Delta AirLines,Inc.,326

  F.3d 1183,1185 (11th Cir.2003). The '
                                      dllactualallegations mustbe enough to raise a
                                              2
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   rightofreliefabove the speculative Ievel.'' Y alls v.Fla.Int'
                                                               lUniv.,495 F.3d 1289,1295

  (11th Cir.2007)(quoting Twombly,550 U.S.at545).
  111. DISCUSSIO N

         Defendant m oves to dism iss Plaintiff's com plaint for several reasons. First

   Defendantargues thatPlainti
                             ff's com plaintfailsto satisfy the basic pleading requirem ents

  of Rule 8 of the FederalRules of CivilProcedure. Second, Defendant argues that

  Plaintiff's com plaintfails to state a claim for religious and nationalorigin discrim ination

  because Plaintiff's discrim ination claim s do notsatisfy the elem ents ofa prim a facie case

  ofdiscrim ination setforth in the Suprem e Coud's decision in M cDonnellDouglas Corp.v.

   Green,411U.S.792,93 S.Ct.1817,36 L.Ed.2d668 (1973). Finally,Defendantargues
  thatPlaintiff's claim fornegligenthiring,retention and/orsupervision fails because such

  claim s cannotbe based on harassm entordiscrim ination.

         a. Plaintiff's NationalOrigin and Religious Discrim ination Claim s

         Title VIIof the CivilRights Act of 1964 makes it unlaw fulfor an em ployer''to

  discrim inate againstany individualwith respectto his com pensation,term s,conditions,

  or privileges of em ploym ent,because ofsuch individual's race,color, religion,sex,or

   nationalorigin.'42 U.S.C.j 2OOOe-2(a)(1). DefendantarguesthatPlainti
                                                                      ffhasfailed to
  establish aprima faciecase ofdiscriminationbyfailingto show that(a)Defendanttreated
  similarly situated employees outside ofthe protected class more favorably (b)thathe
  suffered an adverse employmentaction,and (c)thathe wasqualifiedforthejob.
         In the employm entdiscrim ination context,couds have struggled to determ ine what

   plaintiffs m ustallege in theirpleadings in orderto survive a m otion to dism iss underRule

   12(b)(6). See Ashmore v.F.A.A.,No.11-CV-6O272,2011W L 3915752,at*3 (S.D.Fla.
                                               3
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  Sept.2,2011). The Supreme Coud,however,has made clearthata plaintiffdoes not
  need to establish a prima facie discrimination case in orderto survive a Rule 12(b)(6)
  motion. See Swierkiewicz v.Sorema N.A.,534 U.S.506,510,(2002)(explaining that
  the M cDonnellDouglas burden-shifting standard form aking outa prim a facie case dlis an

  evidentiarystandard,nota pleading requirement'').
        Even though Swierkiewicz predated Twom bly and Iqbal,the Eleventh Circui
                                                                               thas

  reaffirmed Swierkiewicz stating that it remained the case that $
                                                                 t(aJ complaint in an
  em ploym entdiscrim ination case need notcontain specificfactsestablishing a prim a facie

  case underthe evidentiary fram ew ork for such cases to survive a m otion to dism iss.''

  Henderson ?.JP Morgan Chase Bank,N.A.,436 F.App'x 935,937 (11th Cir.2O11).
  Nevedheless, the Coud in Henderson explained that the com plaint m ust ''contain

  sufficientfactualmatterto supporta reasonable inference that(the defendanj engaged
  in racialdiscrimination ....(The plainti
                                         m could have metthis standard by alleging facts
  showing thatsim ilarly-situated Ioan applicants outside herracialclass were o#ered m ore

  favorable Ioanterm s.''Id.''Thus,itappearsthata plaintiffestablishing a prim a facie case

  ofdiscriminationunderMcDonnellIikelysurvivesa Rule 12(b)(6)motion.However,when
  a plaintifffalls shod ofsuch a prima facie case the coud m ustdeterm ine whetherthe

  plaintiff may have nevedheless alleged enough to survive a Rule 12(b)(6) motion.'
  Ashm ore,2O11W L 3915752,at*3.

        To plead a prima facie case fordiscrimination,Plaintiffmustallege that1
                                                                              d(1)he is
  a memberofa protected class,(2)he was subjected to an adverse employmentaction,
  (3)hisemployertreated similarly situated employees outside ofhisprotected classmore
  favorably,and (4)he wasqualified to do thejob.'' Word v.AF&F,576 F.App'x 908,914
                                             4
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  (11th Cir.2014). To satisfy the third element,the plaintiffm ustidentify atleastone
  sim ilarly-situated em ployee who was treated differently than him . See Dawson B.Miami-

  Dade Cty.,No.07-20126 CIV,2008 W L 1924266,at*8 (S.D.Fla.Mar.11,2008). The
  proffered em ployee m ustbe sim ilarto plainti
                                               ff''in aIIm aterialrespects.' Lewis v.City of

  Union City,Georgia,No.15-11362,2019 W L 1285058,at*12 (11th Cir.Mar.21,2019).
         The Court agrees that Plaintiff has not established a prim a facie case of
  discrim ination because he has failed to sufficientl
                                                     y identify a single sim ilarly-situated

  em ployee who was treated differently than him . Although Plaintiffclaims that'dthe other

  Am erican em ployee''was given m ore freedom to schedule offdays,he does notprovide

  any sod ofdetailaboutthis com parator. Plaintiffdoes notallege the otherem ployee's

  nationalorigin or religion. Nor does he allege that the other em ployee was sim ilarly

  situated to him in term s of em ploym ent responsibili
                                                       ties. Such generalcom ments are

  insufficientto establish a prim a facie case. See ArafafB.Sch.Bd.ofBroward Cty.,549

  Fed.Appx.872,874 (11th Cir.2013)(percuriam)(affirming an orderdism issing a case
  forfailure to state a claim when the plainti
                                             ff's com plaint'lgenerically referenced younger

  males,butnowhere inhercomplaintdlid)she identifyanyvalid comparatorsto undergird
  herdisparate treatmentclaims''). Additionally,nowhere in the complaintdoes Plaintiff
  allege that he was qualified for his position. Therefore,Plaintiffhas notestablished a

   prima facie case ofdiscrim ination.

         Plaintiff has also failed to state a claim underthe Eleventh Circuit's reading of

   Swierkiewicz. In Jackson B.Bellsouth Telecomm unications,372 F.3d 1250,1270 (11th
  Cir.2004) the Eleventh Circuit explained thatllwhile Swierkiewicz made clear that
   pleading a M cDonnellDouglas prim a facie case was notnecessary to survive a m otion
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  to dism iss,itdid noteven rem otely suggestthata pleading could survive dism issalwhen

  it consisted of only the barest of conclusory allegations w ithout notice of the factual

  grounds on w hich they purpod to be based.''The Coud then found thatplaintiffsfailed to

  state a claim because Idthe wholly unsuppoded charge that the defendants acted

  differently in cases not involving m inority plaintiffs,even i
                                                               f it were suppoded by som e

  specific facts or exam ples, is not sufficient to state a claim for racially m otivated

  discrimination.''Id.at1273(findingthat'to raise aninferenceofdiscriminatorymotivation,
  the individuals m ust be sim ilarly situated in aIlrelevant respects besides race''and

  plaintiffs ''failed to identify any specific nonm inority em ployees w ho were treated

  differently in othersimilarcases'').
         Thus,even under Swierkiewicz, Plaintiff m ust allege som e facts to suppod an

  inference that sim ilarly situated em ployees have been favorably treated. Plaintifrs

  allegation that''
                  the otherAmerican em ployee'
                                             'was given m ore freedom scheduling off-

  days, without m ore, is insufficient to suppod the inference that he was term inated

  because ofhis nationalorigin orreligion. Ashmore,2011W L 3915752,at*4 (internal
  citation omitted).Accordingly,the CourtfindsthatPlaintiffhasfailed to state a claim for
   nationalorigin and religious discrim ination.

          b. Plaintiff's NegligentHiring,Retention and/orSupervision Claim

         A principalmaybe subjectto Iiabilitydsforphysicalharm to third persons causedby
   (its) failure to exercise reasonable care to employ a competent and careful
  employee/agent/contractorto:(a)doworkwhichwillinvolve a riskofphysicalharm unless
   itisskillfullyand carefullydone,or(b)perform any dutywhichthe employerowesto third
   persons.''Smolnikarv.RoyalCaribbean Cruises Ltd.,787 F.Supp.2d 1308,1318 (S.D.
                                                   6
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   Fla.2011).To state a claim fornegligenthiring orretention againsta principal,a plaintiff
  mustprove that..(1)the agent/employee/contractorwas incompetentorunfitto perform
  the work'
          ,(2)the employerknew or reasonably should have known ofthe padicular
  incompetence orunfitness;and (3)the incompetence orunfitnesswasaproximate cause
  ofthe plaintiff'sinjury.''Id.
         t'The principaldifference between negligent hiring and negligent retention as a

  basis forem ployerIiability is the tim e atwhich the em ployeris charged with know ledge

  ofthe employee's unfitness.''Mumford v.CarnivalCorp.,7 F.Supp.3d 1243,1249(S.D.
   Fla.2014).Negligenthiringoccurswhen,l'priortothetimethe employeeisactuallyhired,
  the em ployerknew orshould have known ofthe em ployee's unfitness,and the issue of

  Iiability prim arily focuses upon the adequacy of the em ployer's pre-em ploym ent

  investigation into the em ployee's background.'' Id. W hereas, Iiability for negligent

  retention ''occurs afterem ploymentbegins,where the em ployerknows orshould know of

  an em ployee's unfitness and fails to take fudheraction such as investigating,discharge

  orreassignment.''Franza ?.RoyalCaribbean Cruises,Ltd.,948 F.Supp.2d 1327,1334

  (S.D.Fla.2013). Defendantmovesto dismiss Plaintiff's negligenthiring/retention claim
  arguing thatthis type of claim cannot be based on harassm ent ordiscrim ination and

  arguingthatPlaintiff's claim is barred because Plaintiffsuffered no physicalinjury.
         The Courtagrees with Defendant. First,underFlorida Iaw ''the underlying wrong

   allegedly com m itted by an em ployee in a negligentsupervision or negligent retention

   claim mustbe based onan injuryresultingfrom a tod (that!is recognized undercommon
   law.'' Scelta v.Delicatessen SupportServs.,Inc.,57 F.Supp.2d 1327,1348 (M.D.Fsa.
   1999). Because Florida Iaw does not recognize a common Iaw cause of action for
                                             7
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  harassm entordiscrim ination,Florida Iaw cannotrecognize a com m on Iaw action based

  on the negligent failure to m aintain a workplace that is free of discrim ination or

  harassment. See Id.(dismissing claim fornegligenthiring/retention based on sexual
  harassment).
         Second, under Florida's ''im pact rule''a plaintiff cannot recover dam ages for

  em otionaldistress caused by the negligence ofanotherifthe plaintiffhas notsustained

  any physicalim pactorcontact. See Miam i-Dade Cty.v.Cardoso,922 So.2d 301,301

  (FIa. 3d DCA 2006) (reversing judgment related to plaintiff's claim for negligent
  supervisionwhere plaintifffailedtoshow impactorphysicalinjuryl'
                                                                ,Resley B.Ritz-carlton
  HotelCo.,989 F.Supp.1442,1449 (M .D.Fla.1997)(holding thata plaintiff's negligent
  retention and hiring claims failed because the plaintiffdid not allege physicalinjury,
  therebysatisfying Florida'simpactrulel;Jenks v.Nap/es Cmty.Hosp.,Inc.,829 F.Supp.
  2d 1235,1257-58(M.D.Fla.2011)(grantingdefendant'ssum maryjudgmentonnegligent
  supervision and retention claim where plaintifffailed to allege an impactl;W eld v.Se,
   Cos.,Inc.,10 F.Supp.2d 1318,1323 (M.D.Fla.1998)(granting motion to dismiss
  negligentsupervision cause ofaction forfailure to state a claim where plaintiff's com plaint

  failed to satisfy the impactrule).
         Here, Plaintiff has not alleged the elements of a negligent hiring,

   retention/supervision claim . Nordid he respond to Defendant's argum entthatthis type

   ofclaim cannotbe based on harassmentordiscrim ination. Additionally,Plaintiffdid not

  allege any physicalinjuryuponwhich hisclaimscan be based.Although Plaintiffclaims
   in his responseto the motion to dismissthathe did sufferphysicalinjury,Plaintiffcannot
   amend his com plaintthrough a response to a m otion to dism iss.&ee Burgess v.Religious
                                             8
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   Fech.Cfc,/nc.,600 Fed.Appx.657,665 (11th Cir.2015).Accordingly,Plaintiff's claim
  fornegligenthiring,retention/supervision fails.

          IV.   CONCLUSIO N

          Forthe reasons stated above,itis O RDERED AND ADJUDG ED as follows:

          1. Defendant's motion todismiss Plaintifrs complaint(DE 34)is GRANTED.
          2. CountIIIofPlaintiff's com plaintis DISM ISSED W ITH PREJUDICE.

          3. Counts Iand 11ofPlaintiff's com plaintare DISM ISSED W ITHO UT PREJUDICE.

             Plaintiffm ay file an am ended com plaintwithin 10 days from the date of this

             O rder.l Failure to do so w illresultin dism issalofthis case.

          DONE AND ORDERED in Cham bers,at M iam i,Florida,this                day ofM arch

  2019.


                                                    KATHLE N M .W ILLIAM S
                                                    UNITED STATES DISTRICT JUDGE




   1The Coud notes thatthis is the third tim e thatthe Coud dism isses Plaintiff's com plaint.
   (See DE 5'
            ,DE 32).Despite numerouswarningsthatPlainti
                                                      ffmustcomplywiththefederal
   rules of civilprocedure and m ultiple oppodunities forPlaintiffto am end the com plaint,
   Plaintiffhas been unable to adiculate facts to supporthis claim s.The E leventh C ircuithas
  foundd'thatdenialofIeave to amend isjustified byfutilitywhenthe complaintasamended
  isstillsubjectto dismissal.''BurgerKing Corp.v.N eaver,169 F.3d 1310,1320(11thCir.
  1999).Nevedheless,the Coud willallow Plaintiffto amend hisdiscrim ination claimsone
  finaltim e.

                                               9
